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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA




In Re: Facebook Inc. Consumer Privacy               Case no. 3:18-MD-02843-VC
User Profile Litigation
                                                     Judge: Hon. Vince Chhabria


                                                   OBJECTION TO FINAL APPROVAL
                                                   BY ALL OF US OR NONE ET AL.




                                 INTRODUCTION

      This Objection is filed on behalf of All of Us or None as an association and

two of its members, as individuals and as members of said association. The core

objections are that the class definition contained in the Preliminary Approval

Order, the proposed Settlement Agreement, and the Plaintiffs’ Motion for Final

Approval is unclear as to the applicability of the class definition to non-natural

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                          Objection by All of Us or None et al.
persons; that the Plaintiffs’ Motion does not accurately state the proper legal

standard for approval; that the Preliminary Approval Order appears not to have

been in compliance with Rule 23(e) and signaled in anticipation an incorrect

application of that Rule for the Final Approval process.



                                I. THE OBJECTORS

1.    The present Objection is joined by All of Us or None, Mr. Dorsey Nunn, and

Objector Roe 1.

2.    All of Us or None (hereinafter “AOUON”) is a community organization and

expressive association led by formerly incarcerated individuals, which advocates

for the civil and human rights of incarcerated persons, of formerly incarcerated

persons, and of persons impacted by the criminal legal system, and for the

wellbeing of their families and communities. AOUON’s membership extends

nationwide, and its headquarters is in Oakland, California.

3.    All of Us or None maintained a Facebook community group since

approximately 2011 or 2012. The group page for the overall organization1 and

Oakland-headquartered unit of AOUON was at url www.facebook.com/AOUON.

The number of unique subscribers to that group was approximately 12,370.


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 Some local chapters have distinct community group Facebook pages. The only
one known to have been censored by Facebook, or Meta, is the overall group page.
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                          Objection by All of Us or None et al.
4.    On or about October 24, 2022 the AOUON page was summarily

unpublished by Facebook, aka Meta. The only notice was a vague reference to

violation of community standards without any details of the allegations and

without any evidence. Multiple intra-system appeals or queries were made without

resulting in an explanation or correction. Letters to Meta from attorney Eric C.

Sapp were ignored or, at least, received no reply. Telephone calls and one in-

person visit to the Meta headquarters proved fruitless.

5.    To our knowledge, at no time did the AOUON page violate any community

standards. The censorship and wrongful suppression of speech, loss of valuable

social networking contacts, and reputational damage caused by Meta’s action

caused material harm to AOUON and to its members. Since this censorship and

repression took place within the settlement period, as proposed, it raises difficult

questions as to the scope of applicability for affected persons, natural and non-

natural.

6.    Dorsey Nunn is a founder and member of All of Us or None. He presents his

objection to the settlement in the capacity as a representive of AOUON as well as

as an individual

7.    Mr. Nunn has been a Facebook user from 2013 to the present and inclusive

of the latter part of the settlement period.


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                           Objection by All of Us or None et al.
8.    Objector Roe 1 is a member of All of Us or None and served as an account

administrator of the All of Us or None community group. Roe 1 was a Facebook

user from November 2015 through to the end of the settlement period. Roe 1

declines to present their detailed personal information for privacy and security

reasons. Due to the alleged privacy breaches by the defendants and co-conspirators

that are the subject of the litigation, and due to credible fear of retaliation from

interested persons, Roe 1 prefers to remain publicly anonymous. Roe 1 has

standing both as a natural person and as a member of the group AOUON. The

personal characteristics of Roe 1 are not relevant to the substance of the objections,

which pertain to the conduct of the class action and the process of judicial

oversight.

                                II. THE OBJECTIONS

A.    The Settlement Class is Not Sufficiently Defined as to the Concept

‘Person’



      The class definition preliminarily approved was defined in terms of all

“Facebook users” and cited to paragraph 46 of the Settlement Agreement. Dkt.

1130; Dkt 1096-2. Both the Preliminary Order and the proposed Settlement take

pains to specify that Meta and affiliated or subsidiaries companies are not within

the class. The canon against surplusage would support the inference that, since it
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                           Objection by All of Us or None et al.
was deemed necessary to expressly exclude those non-natural persons from the

scope, the scope of the class may include non-natural persons. Paragraph 47 of the

Settlement Agreement further specifies that “any and all persons” who meet the

class definition are class members. Dkt. 1096-2. Plaintiffs’ Motion repeats by

reference the same vague class definitions. Dkt. 1145.

      That for some purposes a non-natural entity may qualify as a legal person is

long-established.2 First Nat'l Bank of Boston v. Bellotti, 435 U.S. 765, 780 fn. 18

(1978) (“It has been settled for almost a century that corporations are persons

within the meaning of the Fourteenth Amendment”); Santa Clara County v.

Southern Pacific Railroad Co., 118 U.S. 394, 396 (1886) (Waite, C.J.

preambulatory statement: “"The Court does not wish to hear argument on the

question whether the provision in the Fourteenth Amendment to the Constitution

which forbids a state to deny to any person within its jurisdiction the equal

protection of the laws applies to these corporations. We are all of opinion that it

does. "). The protection of various liberty rights and privacy interests of civic

associations, too, is solidly entrenched in the U.S. constitutional tradition. See

NAACP v. Alabama ex rel. Patterson, 357 U.S. 449 (1958).



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 The doctrine is just as long lamented by critics, too. Nonetheless, corporate
personhood remains the law of the land. See Citizens United v. FEC, 558 U.S. 310
(2010).
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                           Objection by All of Us or None et al.
      The context of this litigation further indicates that persons may include non-

natural persons. The Second Amended Consolidated Complaint includes claims

whose elements or defining statutory provisions define persons thusly. “789.

Facebook and Doe Defendants are persons within the meaning of the [Stored

Communications Act], pursuant to 18 U.S.C. § 2510(6).” Dkt. 491, at 270 (internal

pagination).

      It is not the contention of the Objectors that non-natural persons are class

members. Rather the objection is that the class definition is not sufficiently clear to

know whether they are. If this basic contour of the class is vague, then it becomes

essentially impossible to satisfy the core requirements of Rule 23(a), 23(b), and

23(e). The adequacy of representation by representative and class counsel; the

typicality of class representatives claims; the equity of treatment among class

members, the sufficiency of relief delivery processes, and so on; all of these

parameters presuppose an ability to reasonably define the class. The Settlement

does not do that.



B. The Preliminary Approval Order and Plaintiffs’ Motion for Final

Approval Appear to Propose the Wrong Legal Standard for Approval




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      Plaintiff’s Motion for Final approval lists the Hanlon factors but completely

ignores the Ninth Circuits more recent jurisprudence on Settlement of Class

Actions. Dkt. 1145. True, some of those judge-made factors overlap with the Rule

23(e) mandatory factors that a judge approving a class settlement must consider;

and the Hanlon factors include some desiderata that may be applied in addition to

the mandatory Rule 23 (e) inquiry. But the Ninth Circuit has made clear that the

district court must rigorously apply Rule 23(e)’s factors as a minimum

requirement. Briseño v. Henderson, No. 19-56297 (9th Cir. 2021). See also Roes v.

SFBSC Management, LLC, No. 17-17079 (9th Cir. 2019). These include factors

totally ignored by the Plaintiffs’ Motion: arms-length negotiation rather than a

collusive deal; and equity as between class members. Specifically, the judge must

consider all of the enumerated factors.

             (2) Approval of the Proposal. If the proposal would bind class

      members, the court may approve it only after a hearing and only on finding

      that it is fair, reasonable, and adequate after considering whether:

      (A) the class representatives and class counsel have adequately represented

      the class;

      (B) the proposal was negotiated at arm's length;

      (C) the relief provided for the class is adequate, taking into account:

      (i) the costs, risks, and delay of trial and appeal;
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                           Objection by All of Us or None et al.
      (ii) the effectiveness of any proposed method of distributing relief to the

      class, including the method of processing class-member claims;

      (iii) the terms of any proposed award of attorney's fees, including timing of

      payment; and

      (iv) any agreement required to be identified under Rule 23(e)(3); and

      (D) the proposal treats class members equitably relative to each other.

 Federal Rules of Civil Procedure, Rule 23(e) (emphasis added).

      The Preliminary order did not engage in a searching inquiry on these factors,

nor on the issues spanning Rules 23(a), (b), and (e) having to do with the nature of

the disputes and adequacy of representation. The Preliminary Order was

conclusory in nature, giving little to no reasoning for its conclusions. This would

be troubling enough, but in light of the statement in it to the effect that a similar

level of scrutiny would apply in the final approval process, it is worrisome indeed.

Dkt 1130, p.1 (internal pagination), para 1. The Final Approval needs not to be

“just as careful” (Ibid.) but more so, than was the Preliminary Approval.



                                    CONCLUSION

      Objectors respectfully request that the Court not approve the Settlement and

not approve a revised settlement unless and until these issues are satisfactorily

resolved.
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                           Objection by All of Us or None et al.
Date: July 26, 2023

                                            Respectfully submitted,



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